                 Case 2:22-cr-00091-PD Document 31 Filed 05/27/22 Page 1 of 4 Page ID #:102

                                                        United States District Court
                                                        Central District of California


 UNITED STATES OF AMERICA vs.                                                Docket No.            CR 22-00091-PD

 Defendant           David Earl Gillies                                      Social Security No. 7         0   6   9
 akas:                                                                       (Last 4 digits)




                                                                                                                   MONTH   DAY   YEAR
              In the presence of the attorney for the government, the defendant appeared in person on this date.    May     26   2022

  COUNSEL                                                                David W. Wiechert
                                                                            (Name of Counsel)

    PLEA             X GUILTY, and the court being satisfied that there is a factual basis for the plea.          NOLO            NOT
                                                                                                               CONTENDERE        GUILTY
  FINDING  There being a finding/verdict of GUILTY, defendant has been convicted as charged of the offense(s) of:
          Using a Registered Pesticide in a Manner Inconsistent with its Labeling in violation of 7:136j(a)(2)(G), 136l(b)(1)(A)
JUDGMENT The Court asked whether there was any reason why judgment should not be pronounced. Because no sufficient cause to the
AND PROB/ contrary was shown, or appeared to the Court, the Court adjudged the defendant guilty as charged and convicted and ordered that:
  COMM    Pursuant to the Sentencing Reform Act of 1984, it is the judgment of the Court that the defendant is hereby committed to the
  ORDER   custody of the Bureau of Prisons to be imprisoned for a term of:

Pursuant to the Sentencing Reform Act of 1984, it is the judgment of the court that the defendant David Earl Gillies is
hereby placed on Probation on the TwoͲCount Information for a term of two years under the following terms and
conditions:

         1.          The defendant shall pay to the United States a special assessment of $50.

         2.          The defendant shall pay a fine of $10,000. The defendant is jointly and severally liable with coͲ
                     defendant Fogging Solutions LLC, dba Mountain Fog for the $10,000 fine.

         3.          The defendant shall comply with the rules and regulations of the United States Probation Office,
                     General Order No. 05Ͳ02.

         4.          The defendant shall pay restitution in the total amount of $11,097.40 pursuant to 18 U.S.C. § 3663A to
                     the victims identified in the Victim List lodged under seal by the government, which the Court hereby
                     adopts and which reflects the Court's determination of the amount of restitution due to each victim.
                     The Victim List, which shall be forwarded to the fiscal section of the clerk's office, shall remain under
                     seal and confidential to protect the privacy interests of the victims. The defendant is jointly and
                     severally liable with coͲdefendant Fogging Solutions LLC, dba Mountain Fog for the $11,097.40
                     restitution. The defendant shall pay the restitution amount in full prior to the expiration of the term of
                     probation.

         5.          The defendant is advised of his right to appeal, as limited by the Plea Agreement.

         6.          The bond, if any, is exonerated.


CR-104 (wpd 12/20)                                JUDGMENT & PROBATION/COMMITMENT ORDER                                            Page 1 of 4
                 Case 2:22-cr-00091-PD Document 31 Filed 05/27/22 Page 2 of 4 Page ID #:103

 USA vs.     David Earl Gillies                                                            Docket No.:      CR 22-00091-PD




 In addition to the special conditions of supervision imposed above, it is hereby ordered that the Standard Conditions of Probation and
 Supervised Release within this judgment be imposed. The Court may change the conditions of supervision, reduce or extend the period of
 supervision, and at any time during the supervision period or within the maximum period permitted by law, may issue a warrant and revoke
 supervision for a violation occurring during the supervision period.




            May 27, 2022                                                       PATRICIA DONAHUE
            Date                                                               Patricia Donahue
                                                                               U. S. District Judge/Magistrate Judge

 It is ordered that the Clerk deliver a copy of this Judgment and Probation/Commitment Order to the U.S. Marshal or other qualified officer.

                                                                               Clerk, U.S. District Court



            May 27, 2022                                             By
            Filed Date                                                         Deputy Clerk



 The defendant must comply with the standard conditions that have been adopted by this court (set forth below).

                                 STANDARD CONDITIONS OF PROBATION AND SUPERVISED RELEASE

                                  While the defendant is on probation or supervised release pursuant to this judgment:
 1.    The defendant must not commit another federal, state, or local                9.    The defendant must not knowingly associate with any persons engaged
       crime;                                                                              in criminal activity and must not knowingly associate with any person
 2.    The defendant must report to the probation office in the federal                    convicted of a felony unless granted permission to do so by the probation
       judicial district of residence within 72 hours of imposition of a                   officer. This condition will not apply to intimate family members, unless
       sentence of probation or release from imprisonment, unless                          the court has completed an individualized review and has determined
       otherwise directed by the probation officer;                                        that the restriction is necessary for protection of the community or
 3.    The defendant must report to the probation office as instructed by                  rehabilitation;
       the court or probation officer;                                               10.   The defendant must refrain from excessive use of alcohol and must not
 4.    The defendant must not knowingly leave the judicial district                        purchase, possess, use, distribute, or administer any narcotic or other
       without first receiving the permission of the court or probation                    controlled substance, or any paraphernalia related to such substances,
       officer;                                                                            except as prescribed by a physician;
 5.    The defendant must answer truthfully the inquiries of the probation           11.   The defendant must notify the probation officer within 72 hours of being
       officer, unless legitimately asserting his or her Fifth Amendment                   arrested or questioned by a law enforcement officer;
       right against self-incrimination as to new criminal conduct;                  12.   For felony cases, the defendant must not possess a firearm, ammunition,
 6.    The defendant must reside at a location approved by the probation                   destructive device, or any other dangerous weapon;
       officer and must notify the probation officer at least 10 days before         13.   The defendant must not act or enter into any agreement with a law
       any anticipated change or within 72 hours of an unanticipated                       enforcement agency to act as an informant or source without the
       change in residence or persons living in defendant’s residence;                     permission of the court;
 7.    The defendant must permit the probation officer to contact him or             14.   The defendant must follow the instructions of the probation officer to
       her at any time at home or elsewhere and must permit confiscation                   implement the orders of the court, afford adequate deterrence from
       of any contraband prohibited by law or the terms of supervision and                 criminal conduct, protect the public from further crimes of the
       observed in plain view by the probation officer;                                    defendant; and provide the defendant with needed educational or
 8.    The defendant must work at a lawful occupation unless excused by                    vocational training, medical care, or other correctional treatment in the
       the probation officer for schooling, training, or other acceptable                  most effective manner.
       reasons and must notify the probation officer at least ten days
       before any change in employment or within 72 hours of an
       unanticipated change;




CR-104 (wpd 12/20)                                    JUDGMENT & PROBATION/COMMITMENT ORDER                                                                Page 2 of 4
                Case 2:22-cr-00091-PD Document 31 Filed 05/27/22 Page 3 of 4 Page ID #:104

 USA vs.     David Earl Gillies                                                 Docket No.:     CR 22-00091-PD


             The defendant must also comply with the following special conditions (set forth below).
       X
             STATUTORY PROVISIONS PERTAINING TO PAYMENT AND COLLECTION OF FINANCIAL SANCTIONS

           The defendant must pay interest on a fine or restitution of more than $2,500, unless the court waives interest or unless the fine or
 restitution is paid in full before the fifteenth (15th) day after the date of the judgment under 18 U.S.C. § 3612(f)(1). Payments may be subject
 to penalties for default and delinquency under 18 U.S.C. § 3612(g). Interest and penalties pertaining to restitution, however, are not
 applicable for offenses completed before April 24, 1996. Assessments, restitution, fines, penalties, and costs must be paid by certified check
 or money order made payable to “Clerk, U.S. District Court.” Each certified check or money order must include the case name and number.
 Payments must be delivered to:

           United States District Court, Central District of California
           Attn: Fiscal Department
           255 East Temple Street, Room 1178
           Los Angeles, CA 90012

 or such other address as the Court may in future direct.

          If all or any portion of a fine or restitution ordered remains unpaid after the termination of supervision, the defendant must pay the
 balance as directed by the United States Attorney’s Office. 18 U.S.C. § 3613.

          The defendant must notify the United States Attorney within thirty (30) days of any change in the defendant’s mailing address or
 residence address until all fines, restitution, costs, and special assessments are paid in full. 18 U.S.C. § 3612(b)(l)(F).

          The defendant must notify the Court (through the Probation Office) and the United States Attorney of any material change in the
 defendant’s economic circumstances that might affect the defendant’s ability to pay a fine or restitution, as required by 18 U.S.C. § 3664(k).
 The Court may also accept such notification from the government or the victim, and may, on its own motion or that of a party or the victim,
 adjust the manner of payment of a fine or restitution under 18 U.S.C. § 3664(k). See also 18 U.S.C. § 3572(d)(3) and for probation 18 U.S.C.
 § 3563(a)(7).

           Payments will be applied in the following order:

                     1. Special assessments under 18 U.S.C. § 3013;
                     2. Restitution, in this sequence (under 18 U.S.C. § 3664(i), all non-federal victims must be paid before the United
                       States is paid):
                               Non-federal victims (individual and corporate),
                               Providers of compensation to non-federal victims,
                               The United States as victim;
                     3. Fine;
                     4. Community restitution, under 18 U.S.C. § 3663(c); and
                     5. Other penalties and costs.

            CONDITIONS OF PROBATION AND SUPERVISED RELEASE PERTAINING TO FINANCIAL SANCTIONS

          As directed by the Probation Officer, the defendant must provide to the Probation Officer: (1) a signed release authorizing credit
 report inquiries; (2) federal and state income tax returns or a signed release authorizing their disclosure and (3) an accurate financial
 statement, with supporting documentation as to all assets, income and expenses of the defendant. In addition, the defendant must not apply
 for any loan or open any line of credit without prior approval of the Probation Officer.

           When supervision begins, and at any time thereafter upon request of the Probation Officer, the defendant must produce to the
 Probation and Pretrial Services Office records of all bank or investments accounts to which the defendant has access, including any business
 or trust accounts. Thereafter, for the term of supervision, the defendant must notify and receive approval of the Probation Office in advance
 of opening a new account or modifying or closing an existing one, including adding or deleting signatories; changing the account number or
 name, address, or other identifying information affiliated with the account; or any other modification. If the Probation Office approves the
 new account, modification or closing, the defendant must give the Probation Officer all related account records within 10 days of opening,
 modifying or closing the account. The defendant must not direct or ask anyone else to open or maintain any account on the defendant’s
 behalf.

         The defendant must not transfer, sell, give away, or otherwise convey any asset with a fair market value in excess of $500 without
 approval of the Probation Officer until all financial obligations imposed by the Court have been satisfied in full.

                                These conditions are in addition to any other conditions imposed by this judgment.



CR-104 (wpd 12/20)                               JUDGMENT & PROBATION/COMMITMENT ORDER                                                     Page 3 of 4
                Case 2:22-cr-00091-PD Document 31 Filed 05/27/22 Page 4 of 4 Page ID #:105

 USA vs.     David Earl Gillies                                                  Docket No.:      CR 22-00091-PD




                                                                     RETURN

 I have executed the within Judgment and Commitment as follows:
 Defendant delivered on                                                                      to
 Defendant noted on appeal on
 Defendant released on
 Mandate issued on
 Defendant’s appeal determined on
 Defendant delivered on                                                                    to
     at
     the institution designated by the Bureau of Prisons, with a certified copy of the within Judgment and Commitment.

                                                                     United States Marshal


                                                               By
            Date                                                     Deputy Marshal



                                                                  CERTIFICATE

 I hereby attest and certify this date that the foregoing document is a full, true and correct copy of the original on file in my office, and in my
 legal custody.

                                                                     Clerk, U.S. District Court


                                                               By
            Filed Date                                               Deputy Clerk




                                                 FOR U.S. PROBATION OFFICE USE ONLY


Upon a finding of violation of probation or supervised release, I understand that the court may (1) revoke supervision, (2) extend the term of
supervision, and/or (3) modify the conditions of supervision.

         These conditions have been read to me. I fully understand the conditions and have been provided a copy of them.


         (Signed)
                     Defendant                                                      Date



                     U. S. Probation Officer/Designated Witness                     Date




CR-104 (wpd 12/20)                               JUDGMENT & PROBATION/COMMITMENT ORDER                                                      Page 4 of 4
